14-02067-mew             Doc 13     Filed 05/20/15 Entered 05/21/15 00:24:41             Imaged
                                   Certificate of Notice Pg 1 of 3
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In Re:
                                                                    Case No. 11-10219 (MEW)
KENNETH IRA STARR, et al.,
                                                                    Chapter 7

                                    Debtors.                        Jointly Administered
-----------------------------------------------------------------   Substantively Consolidated
ROBERT L. GELTZER, as Trustee of
the Estate of KENNETH IRA STARR, et al.,

                                   Plaintiff,                       Adv. Pro. No. 14-02067 (MEW)

                  -against-
         SLEEPY HUDSON LLC,                                            BC 15,0052
                                    Defendant.
-----------------------------------------------------------------

                                          DEFAULT JUDGMENT


         The above-captioned adversary proceeding was commenced by the filing on July 25,
2014, and serving on August 28, 2014, a Second Summons and Notice of Pretrial Conference

and a Complaint (collectively, the “Complaint”) upon Sleepy Hudson LLC (the “Defaulting
Defendant”); and the Defaulting Defendant having failed to answer or move with respect to the

Complaint; and the Defaulting Defendant having failed to appear at the pre-trial conference held

in this Court on September 8, 2014 (the “Pretrial Conference”); and the Defaulting Defendant’s
default having been noted on the record at the Pretrial Conference; and on October 16, 2014,

Robert L. Geltzer, Chapter 7 trustee (the “Trustee”) of Kenneth Ira Starr, et al., the above-
captioned debtors (the “Debtors”), submitted a Declaration pursuant to Rule 55 of the Federal

Rules of Civil Procedure, as made applicable by Rule 7055 of the Federal Rules of Bankruptcy

Procedure, and Rule 7055-1 of the Local Rules of the Bankruptcy Court for the Southern District
of New York, for the issuance of Certificate of Default against the Defaulting Defendant [ECF

6]; and on December 5, 2014, the Clerk of the Court entered a Certificate of Default against the
Defaulting Defendant [ECF 7]; and the amount sought in the Complaint was for the sum certain

of $200,000; and upon the April 1, 2015 Affidavit of Vinay Agarwal, senior manager at Davis


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Graber Plotzker & Ward, LLP, the Court-retained accountants to the Trustee, annexed to the

Trustee’s Notice of Presentment; and it appearing that due notice having been given, and no

objection to the relief sough herein having been interposed; and no further notice being
necessary nor required; it is hereby

         ORDERED, ADJUDGED AND DECREED that judgment be entered in favor of the

Trustee of the estate of Kenneth Ira Starr, et al. and against the Defaulting Defendant in the sum
of $200,000.00; and it is further

         ORDERED, ADJUDGED AND DECREED that the Trustee has all of the rights and

remedies afforded to a judgment creditor by law; and it is further

         ORDERED, ADJUDGED AND DECREED that the Trustee may enforce this judgment

against the Defaulting Defendant, as allowed by applicable law.

Dated: New York, New York
             , 2015
       May ___



                                               T.JDIBFM&8JMFT
                                              ____________________________________
                                              HONORABLE MICHAEL E. WILES
                                              UNITED STATES BANKRUPTCY JUDGE




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                                                 Certificate of Notice Pg 3 of 3
                                               United States Bankruptcy Court
                                               Southern District of New York
Geltzer,
              Plaintiff                                                                           Adv. Proc. No. 14-02067-mew
Sleepy Hudson, LLC,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0208-1                  User: arouzeau                     Page 1 of 1                          Date Rcvd: May 18, 2015
                                      Form ID: pdf001                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 20, 2015.
dft            +Sleepy Hudson, LLC,   Attn: Managing Agent,   200 E. 58th Street,   Apt. 16F,
                 New York, NY 10022-2035

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: May 20, 2015                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 18, 2015 at the address(es) listed below:
              Robert L. Geltzer   on behalf of Plaintiff Robert L. Geltzer rgeltzer@epitrustee.com,
               rgeltzerso@ecf.epiqsystems.com;mbruh@geltzerlaw.com
                                                                                            TOTAL: 1
